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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF FLORIDA
                     TALLAHASSEE DIVISION

                     Civil Action No. 4:21-cv-00220-RH-MAF

NETCHOICE, LLC d/b/a NETCHOICE, a
501(c)(6) District of Columbia organization; and
COMPUTER           &       COMMUNICATIONS
INDUSTRY ASSOCIATION d/b/a CCIA, a
501(c)(6) non-stock Virginia corporation,

            Plaintiffs,

                v.

ASHLEY BROOKE MOODY, in her official
capacity as Attorney General of the State of
Florida; JONI ALEXIS POITIER, in her official
capacity as Commissioner of the Florida Elections
Commission; JASON TODD ALLEN, in his
official capacity as Commissioner of the Florida
Elections Com- mission; JOHN MARTIN
HAYES, in his official capacity as Commissioner
of     the   Florida    Elections   Commission;
KYMBERLEE CURRY SMITH, in her official
capacity as Commissioner of the Florida Elections
Commission; and PATRICK GILLESPIE, in his
official capacity as Deputy Secretary of Business
Operations of the Florida Department of
Management Services,

          Defendants.
________________________________________/


    CONSENT MOTION OF AMICI ELECTRONIC FRONTIER
 FOUNDATION AND PROTECT DEMOCRACY PROJECT, INC. FOR
LEAVE TO FILE BRIEF IN SUPPORT OF PLAINTIFFS’ MOTION FOR
                PRELIMINARY INJUNCTION
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      Non-parties Electronic Frontier Foundation (EFF) and the Protect Democracy

Project, Inc. (Protect Democracy) seek leave to file an amici curiae brief in support

of Plaintiffs’ Motion for Preliminary Injunction, Dkt. No. 22, in the above-captioned

case. All parties consent to EFF and Protect Democracy filing their brief.

      EFF is a member-supported, nonprofit civil liberties organization that has

worked for 30 years to protect free speech, privacy, security, and innovation in the

digital world. EFF, with more than 30,000 members, represents the interests of

technology users through impact litigation, direct advocacy, and technology

development to encourage and challenge industry, government, and courts to support

free speech, privacy, and innovation in the information society. See, e.g., Woodhull

Freedom Foundation v. United States, No. 18-cv-1552 (D.D.C. 2018) (counsel to

plaintiffs bringing a First Amendment challenge to the Allow States and Victims to

Fight Online Sex Trafficking Act of 2017);1 PETA v. Young, No. 18-cv-01547 (S.D.

Tex. 2018) (counsel to a plaintiff bringing a First Amendment challenge to Texas

A&M’s blocking plaintiff from posting on the university’s official Facebook page); 2

Packingham v. North Carolina, 582 U.S. ___, 137 S.Ct. 1730, 1735-36 (2017) (cited




1
 More information about the case is available at
https://www.eff.org/cases/woodhull-freedom-foundation-et-al-v-united-states.
2
  More information about the case is available at https://www.eff.org/cases/peta-v-
texas-am.


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as amicus curiae in case holding that state law prohibiting access to social media

services violated the First Amendment); Prager University v Google LLC, 951 F.3d

991, 995 (9th Cir. 2020) (appearing as amicus curiae in support of Google’s First

Amendment rights to moderate user-generated content). 3

      The Protect Democracy Project, Inc., is a nonpartisan, nonprofit organization

dedicated to preventing our democracy from declining into a more authoritarian

form of government. It engages in litigation and other advocacy to protect elections

and voting rights, as well as to protect the public sphere and to enable dissent. Protect

Democracy's work recognizes the particular threat that disinformation poses to a

functioning democracy.

       AMICI’S BRIEF WILL ASSIST THE COURT BY PROVIDING
           INTERNET USERS’ PERSPECTIVE ON S.B. 7072

      Amici seek leave to file their brief so that the Court can understand how S.B.

7072’s multiple First Amendment problems negatively affects internet users who

rely on online social media platforms to speak, to organize, and to build

communities. As amici’s brief explains, the First Amendment provides online

services with a right to determine whether and how to host people’s speech online,

a bulwark against government regulation that also benefits users by allowing




3
 The brief is available at https://www.eff.org/files/2018/11/26/prager_v_google_-
_eff_amicus_brief.pdf.


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platforms to decide whether to create moderated or unmoderated platforms. S.B.

7072 coerces platforms into not moderating online speech of certain preferred

speakers—Florida political candidates and large media organizations.

       As the brief explains, the law harms users in two distinct ways.

       First, by forcing platforms to not moderate certain speakers’ online speech,

the law limits the ability for individual platforms to set their own rules for the kinds

of users and speech they will allow. This violates those service’s First Amendment

rights while also limiting the availability of diverse online forums, undermining

internet users’ interests.

       Second, by demanding that certain speakers’ speech not be moderated, S.B.

7072 impermissibly discriminates against every other internet user who is not a

candidate for public office or a “journalistic enterprise” as defined by the statute.

This speaker-based distinction is a violation of the First Amendment and it also

exacerbates existing power disparities between average internet users and public

officials.

       But as amici’s brief explains, online platforms’ inconsistent and opaque

moderation decisions can have significant consequences for internet users’ speech.

The public should scrutinize platforms’ moderation decisions while also pushing

them to voluntarily adopt practices that follow a reasonable human rights framework

appropriate for their platform. The problem with S.B. 7072 is that it seizes on these



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legitimate concerns to unconstitutionally coerce platforms to adopt Florida’s

preferred content moderation practices, despite such interference being barred by

binding Supreme Court precedent.

      Amici thus believe their brief will assist this Court’s review of S.B. 7072 while

ensuring that it understands internet users’ concerns with large social media

services’ content moderation policies. See Bayshore Ford Truck Sales, Inc. v. Ford

Motor Co., 471 F.3d 1233, 1249 n.34 (11th Cir. 2006).

      Therefore, EFF respectfully requests leave to file the attached amicus brief.




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                      CERTIFICATE OF WORD COUNT

      I hereby certify that, pursuant to Local Rule 7.1(F), this motion contains a

total of 703 words and the attached amici curiae brief contains a total of 6,717 words,

for a total of 7,420 words.

                                              /s/Christopher B. Hopkins
                                              Christopher B. Hopkins, Esq.




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Dated: June 14, 2021                 Respectfully submitted,

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                                     Electronic Frontier Foundation and
                                     Protect Democracy Project, Inc

                                     and
                                        Aaron Mackey
                                        (pro hac vice forthcoming)
                                        David Greene
                                        (pro hac vice forthcoming)
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                            CERTIFICATE OF SERVICE

      I hereby certify that on June 14, 2021 I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of

such filing to the following to all counsel of record.

                                               /s/Christopher B. Hopkins
                                               Christopher B. Hopkins, Esq.




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